 Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 1 of 13 PageID: 211



NOT FOR PUBLICATION

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE



TARON HILL,                   :         Civil Action No. 17-7338 (RMB)
                              :
               Petitioner,    :
                              :
          v.                  :                     OPINION
                              :
STEVEN JOHNSON and            :
ATTORNEY GENERAL OF THE STATE :
OF NEW JERSEY,                :
                              :
               Respondents.   :
                              :


     On September 21, 2017, Petitioner filed a Petition for Writ

of Habeas Corpus pursuant to 28 U.S.C. § 2254. (Pet., ECF No. 1.)

The matter is before the Court upon Respondents’ Motion to Dismiss

Petition on Timeliness Grounds (“Resp’t Mot. to Dismiss,” ECF No.

5); Petitioner’s Mot. for Stay and Abeyance until Second PCR is

Heard and Final (“Pet’r Mot. to Stay,” ECF No. 7); and Petitioner’s

Motion for Equitable Tolling (“Pet’r Mot. Equitable Tolling,” ECF

No. 9.)

I.   BACKGROUND AND PROCEDURAL HISTORY

     On October 13, 2006, Petitioner was convicted in the Superior

Court of New Jersey, Camden County of two counts of first-degree

murder; one count of second-degree possession of a weapon for

unlawful   purpose;     and   one   count   of   third-degree     unlawful
 Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 2 of 13 PageID: 212



possession of a weapon. (Pet., ECF No. 1 at 1.) On March 13, 2007,

Petitioner was sentenced to two consecutive 30-year prison terms

with 30-year periods of parole ineligibility on Counts 1 and 2; a

7-year concurrent prison term on Count 3; and a 4-year concurrent

term on Count 4, for an aggregate 60-year prison term with an

aggregate 60-year term of parole ineligibility. (Judgment, ECF No.

5-4.)

        Petitioner filed a direct appeal on January 31, 2008. (Notice

of Appeal, ECF No. 5-5.) The Appellate Division affirmed his

conviction on June 17, 2010, but remanded to the trial court to

merge Count 3 with Counts 1 and 2. (App. Div. Opinion, ECF No. 5-

6.) The trial court entered an Amended Judgment of Conviction on

July 15, 2010. (Am. JOC, ECF No. 5-7.) On June 29, 2010, Petitioner

filed a petition for certification in the New Jersey Supreme Court.

(Pet. for Cert., ECF No. 5-8.) The New Jersey Supreme Court denied

the petition on October 28, 2010. (N.J. S. Ct. Order, ECF No. 5-

9.)

        On December 15, 2010, the New Jersey Superior Court, Law

Division received Petitioner’s pro se petition for post-conviction

relief. (Pro Se Pet., ECF No. 5-10.) The PCR Court denied relief

on June 28, 2013. (PCR Opinion, ECF No. 5-11.) Petitioner filed a

Notice of Appeal in the Appellate Division on April 1, 2014.

(Notice of Appeal, ECF No. 5-12.) On April 21, 2014, the Appellate

Division granted Petitioner’s motion to file the notice of appeal

                                     2
 Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 3 of 13 PageID: 213



within time. (App. Div. Order, ECF No. 5-13.) The Appellate

Division affirmed the PCR Court’s decision on June 28, 2016. (App.

Div. Opinion, ECF No. 5-14.) Petitioner filed a petition for

certification in the New Jersey Supreme Court on August 31, 2016.

(Pet. for Cert., ECF No. 5-15.) The New Jersey Supreme Court denied

the petition on November 9, 2016. (N.J. S. Ct. Order, ECF No. 5-

16.)

       Petitioner   filed   the   instant   petition   for   habeas   corpus

relief on September 21, 2017. (Pet., ECF No. 1.) However, he placed

the petition in the prison mailing system on August 10, 2017. (Id.,

at 16.) Respondents filed their motion to dismiss the petition for

timeliness on November 1, 2017. (Resp’t Mot. to Dismiss, ECF No.

5.) On November 6, 2017, Petitioner filed his motion for stay and

abeyance, stating he wished to raise unexhausted claims, and to

proceed with a second PCR proceeding, while holding his habeas

proceeding in abeyance. (Pet’s Mot. to Stay, ECF No. 7.) On

November 16, 2017, Respondents filed a letter brief in opposition

to Petitioner’s motion for stay and abeyance. (Resp’t Opp. Brief,

ECF No. 8.) On December 1, 2017, Petitioner filed a motion for

equitable   tolling    of   the   statute   of   limitations.   (Mot.   for

Equitable Tolling, ECF No. 9.)

II.    DISCUSSION

       A.   Statute of Limitations

            1. The Parties’ Arguments

                                     3
 Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 4 of 13 PageID: 214



     Respondents seek to dismiss Petitioner’s petition for writ of

habeas corpus under 28 U.S.C. § 2254 because it was not filed

within   the   one-year   statute   of   limitations    in   28   U.S.C.   §

2244(d)(1). Respondents submit Petitioner’s direct appeal became

final for purposes of the habeas statute of limitations on January

26, 2011, upon expiration of the 90-day time period when Petitioner

could have sought a writ of certiorari from the U.S. Supreme Court

on his direct appeal. (Resp’t Brief, ECF No. 5-1 at 19.)

     Respondents contend that the habeas statute of limitations

was tolled on December 15, 2010, when Petitioner filed a timely

PCR petition. (Id.) The PCR Court denied relief on June 18, 2013,

and Petitioner had 45 days, pursuant to New Jersey Court Rule 2:4-

1(a), to file a notice of appeal. (Id.) Petitioner did not file a

notice of appeal by the deadline of August 2, 2013. (Id. at 19-

20.) Instead he filed an untimely notice of appeal on April 1,

2014. (Id. at 20.) The Appellate Division granted Petitioner’s

motion to file as within time on April 21, 2014. (Id.)

     Respondents assert that 261 days (more than eight months) of

the one-year habeas statute of limitations elapsed between August

2, 2013 and April 21, 2014, the time when Petitioner should have

filed a timely notice of appeal of the PCR Court decision and the

time when the Appellate Division granted his motion to file as

within time. The statute of limitations was then tolled from April

21, 2014 through November 9, 2016, when Petitioner’s PCR proceeding

                                     4
 Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 5 of 13 PageID: 215



became final. (Resp’t Brief, ECF No. 5-1 at 20.) Respondents assert

Petitioner did not file his habeas petition until September 22,

2017, more than seven months later. (Id. at 21.) Therefore,

Petitioner filed his petition outside the one-year statute of

limitations.

      In response, Petitioner filed a motion for equitable tolling

of the statute of limitations. (Mot. for Equitable Tolling, ECF

No.   9.)   In   support   of   his   motion,   Petitioner   submitted   his

declaration, which states, in relevant part:

            10. On June 28, 2013, the Superior Court
            issued an order denying the petition for Post
            Conviction Relief.

            11 Petitioner appealed the denial of the
            Petition for Post Conviction Relief to the
            Superior Court of New Jersey Appellate
            Division, STATE V. TARON HILL, Docket Number
            A-3415-13T4. On April 1, 2014, the Office of
            the Public Defender filed Notice of Appeal, as
            within time, along with a certification from
            Edward K. Germadnig stating the following:

                  Edward K. Germadnig of full age hereby
                  certifies that:

                  1. I am an Attorney Assistant in the
                  Intake Unit of the Office of the Public
                  Defender, Appellate Section.

                  2. The date of the filing of the order is
                  June 28, 2013. If timely filed, a Notice
                  of Appeal would have been due on or
                  before August 12, 2013.

                  3.   Our   file   indicates   that   the
                  transmittal of adult appeal form was
                  timely signed by a pool attorney on July
                  22, 2013.

                                       5
Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 6 of 13 PageID: 216




                4. Since the defendant herein timely
                requested an appeal, and the reason for
                the delay is not his fault, it is most
                respectfully    requested    that   the
                accompanying Notice of Appeal be filed,
                as within time. (See Exhibit 1).

          Wherefore Petitioner respectfully requests
          that equitable tolling be granted for the time
          that lapsed between Petitioner's application
          being denied and Post Conviction Relief appeal
          being filed, as the delay in the Public
          Defenders Office filing of the appeal was
          certified to not be the result of Petitioner's
          actions. (See Exhibit i).

(ECF No. 9 at 3-4.)

          2.    Legal Standard

     28 U.S.C. § 2244(d) provides:

          (d)(1) A 1-year period of limitation shall
          apply to an application for a writ of habeas
          corpus by a person in custody pursuant to the
          judgment of a State court. The limitation
          period shall run from the latest of—

                (A) the date on which the judgment became
                final by the conclusion of direct review
                or the expiration of the time for seeking
                such review;

                (B) the date on which the impediment to
                filing an application created by State
                action in violation of the Constitution
                or laws of the United States is removed,
                if the applicant was prevented from
                filing by such State action;

                (C) the date on which the constitutional
                right asserted was initially recognized
                by the Supreme Court, if the right has
                been newly recognized by the Supreme
                Court and made retroactively applicable
                to cases on collateral review; or

                                    6
    Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 7 of 13 PageID: 217




                     (D) the date on which the factual
                     predicate   of  the   claim  or   claims
                     presented could have been discovered
                     through the exercise of due diligence.

              (2) The time during which a properly filed
              application for State post-conviction or other
              collateral   review   with   respect  to   the
              pertinent judgment or claim is pending shall
              not be counted toward any period of limitation
              under this subsection.

        After a petitioner seeks review from the State’s highest

court,      the   judgment    of    conviction   becomes    final,   and     the

limitations period begins to run after expiration of the 90-day

period for filing a petition for writ of certiorari in the United

States Supreme Court. Swartz v. Meyers, 204 F.3d 417, 419 (3d Cir.

2000). Only a properly filed application for State post-conviction

review or other collateral review tolls the habeas statute of

limitations. Pace v. DiGuglielmo, 544 U.S. 408, 413 (2005).1                   A

properly filed application is one that was accepted for filing and

was filed within the time limits prescribed. Id.

        In New Jersey, a petitioner has 45 days to file a notice of

appeal of a PCR Court decision. N.J. Ct. R. 2:4-1(a). “[O]nly a

timely      appeal   tolls   [the   Anti-terrorism    and   Effective      Death

Penalty Act of 1996] AEDPA’s 1–year limitations period for the

time between the lower court's adverse decision and the filing of


1 The tolling provision does not reset the date from which the one-
year limitation period begins to run. Johnson v. Hendricks, 314
F.3d 159, 161-62 (3d Cir. 2002) cert. denied, 538 U.S. 1022 (2003).
                                        7
    Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 8 of 13 PageID: 218



a notice of appeal in the higher court …” Evans v. Chavis, 546

U.S. 189, 197 (2006) (citing Carey v. Saffold, 536 U.S. 214

(2002)).

                3.    Analysis

        Petitioner’s direct appeal became final on January 26, 2011,

ninety      days     after    the        New   Jersey   Supreme    Court     rejected

Petitioner’s         petition      for    certification   on    direct     review   on

October 28, 2010. (N.J. S. Ct. Order, ECF No. 5-9.) The habeas

statute of limitations was tolled when Petitioner filed a timely

PCR petition on December 15, 2010. (Pro Se Pet., ECF No. 5-10.)

The parties do not dispute that Petitioner’s Notice of Appeal of

the PCR Court’s June 18, 2013 decision was untimely. The statute

of limitations was not tolled from the date of the PCR Court’s

decision on June 18, 2013 through April 1, 2014, when Petitioner

filed a motion to accept the late notice of appeal as timely. See

Evans, 546 U.S. at 197 (“only a timely appeal tolls AEDPA's 1–year

limitations period.”) During this period, 286 days of the one-year

statute of limitations ran.

        Even if the period from April 1, 2014 through August 31, 2016

is     tolled    because     the    New    Jersey   Appellate     Division   granted

Petitioner’s April 1, 2014 motion to file a Notice of Appeal as

within time,2 Petitioner had only 79 days remaining to file his


2 In Swartz v. Meyers, the Third Circuit did not have to reach the
issue of whether the habeas statute of limitations should toll
                                               8
    Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 9 of 13 PageID: 219



federal habeas petition after the New Jersey Supreme Court denied

his petition for certification on PCR appeal on August 31, 2016.

Petitioner did not file his petition until August 10, 2017, under

the prison mailbox rule.3 The statute of limitations had long

expired by that time.

        B.    Equitable Tolling

        Petitioner    seeks     equitable   tolling    of   the   statute   of

limitations because his PCR counsel told the New Jersey Appellate

Division it was not Petitioner’s fault that his notice of appeal

of the PCR Court’s June 18, 2013 decision was untimely. (Pet’r

Mot. Equitable Tolling, ECF No. 9 at 4.) According to Petitioner’s

PCR Counsel, a pool attorney had timely prepared the notice of

appeal, but it was not filed until much later. (Id.)

        Equitable     tolling    applies    to   the   habeas     statute   of

limitations under 28 U.S.C. § 2244(d) in appropriate cases. Holland




while a request for permission to file a timely appeal (out of
time) was pending before the court. Swartz v. Meyers, 204 F.3d
417, 424 (3d Cir. 2000). It does not appear that the Third Circuit
has reached that issue in a published decision. But see Thompson
v. Administrator, New Jersey State Prison, 701 F. App’x 118, 124
(3d Cir. 2017) (quoting Fernandez v. Sternes, 227 F.3d 977, 979
(7th Cir. 2000) (holding that if a state court grants leave to
pursue an out of time appeal, the proper period of exclusion for
§ 2244(d) purposes is “all time between the filing of the request
to excuse the default and the state court's decision on the merits
(if it elects to excuse the default.))

3 “[A] pro se prisoner's habeas petition is deemed filed at the
moment he delivers it to prison officials for mailing to the
district court.” Burns v. Morton, 134 F.3d 109, 113 (3d Cir. 1998).
                                        9
Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 10 of 13 PageID: 220



v.   Florida,   560       U.S.   631,   645      (2010).   “[A]   ‘petitioner’     is

‘entitled to equitable tolling’ only if he shows ‘(1) that he has

been    pursuing      his    rights       diligently,      and    (2)    that    some

extraordinary circumstance stood in his way’ and prevented timely

filing. Id. at 649 (quoting Pace, 544 U.S. at 418 (emphasis deleted

in   original.))      A    simple   “garden       variety”   claim      of   attorney

negligence, like miscalculation causing an untimely filing, does

not satisfy the extraordinary circumstances needed to justify

equitable tolling. Id. at 651.

       PCR Counsel’s failure to file a timely notice of appeal in

this case appears to be a “garden variety” claim of attorney

negligence.     Petitioner          has         not   presented      extraordinary

circumstances justifying equitable tolling or any facts suggesting

that he exercised diligence in pursuing his rights, despite his

attorney’s negligence. Therefore, the Court denies Petitioner’s

motion for equitable tolling, but the motion is denied without

prejudice. The Court will reopen this matter if Petitioner timely

files a motion to reopen, and he provides additional information

showing that he exercised reasonable diligence in pursuing his

rights, and/or that PCR counsel misled him into believing his

habeas petition would be timely filed without any action on his

part. See e.g. Ross v. Varano, 712 F.3d 784, 803-04 (3d Cir. 2013)

(finding equitable tolling proper where petitioner repeatedly

urged his attorney to take action on appeal and stressed the

                                           10
Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 11 of 13 PageID: 221



importance of timely filing a habeas petition, and attorney ignored

most communications and misstated the law).

        C.   Motion for Stay and Abeyance

        After Respondents filed their motion to dismiss in this

matter, Petitioner filed a motion for stay and abeyance of his

mixed petition because he wishes to raise three unexhausted claims

in a second PCR proceeding before habeas review. (Pet’r Mot. to

Stay, ECF No. 7.) In Rhines v. Weber, the Supreme Court held that

district courts have the discretion to stay mixed habeas petitions,

those    containing   exhausted   and    unexhausted     claims,   while   the

petitioner returns to state court to exhaust his unexhausted

claims. 544 U.S. 269, 279 (2005). The Court reasoned that if a

petitioner files a timely but mixed petition in federal district

court, and the district court dismisses it under Lundy4 after the

limitations    period   has   expired,     this   will    likely   mean    the

termination of any federal review. Id. at 275. Stay and abeyance

“is only appropriate when the district court determines there was

good cause for the petitioner's failure to exhaust his claims first

in state court,” and only if the unexhausted claims are not plainly

without merit. Id. at 277.


4 In Rose v. Lundy, decided before Congress imposed a one-year
statute of limitations on petitions under § 2254, the Supreme Court
held that “because a total exhaustion rule promotes comity and
does not unreasonably impair the prisoner's right to relief, we
hold that a district court must dismiss habeas petitions containing
both unexhausted and exhausted claims.” 455 U.S. 509, 522 (1982).
                                    11
Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 12 of 13 PageID: 222



      Here, because the habeas petition was untimely filed, there

is nothing to stay and hold in abeyance. See Crews v. Horn, 360

F.3d 146, 151 (3d Cir. 2004) (stay and abeyance of mixed habeas

petition is only appropriate when a mixed petition is timely

filed). Therefore, the Court denies Petitioner’s motion for stay

and abeyance as moot.

III. CERTIFICATE OF APPEALABILITY

      Pursuant to 28 U.S.C. § 2253(c), unless a circuit justice or

judge issues a certificate of appealability, an appeal may not be

taken from a final order in a proceeding under 28 U.S.C. § 2254.

A certificate of appealability may issue “only if the applicant

has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2). “A petitioner satisfies this

standard by demonstrating that jurists of reason could disagree

with the district court’s resolution of his constitutional claims

or that jurists could conclude the issues presented are adequate

to   deserve   encouragement    to   proceed   further.”    Miller-El    v.

Cockrell, 537 U.S. 322, 327 (2003).

      For the reasons discussed above, Petitioner has not made a

substantial showing of the denial of a constitutional right based

on his failure to timely file a petition under 28 U.S.C. § 2254.

Therefore, the Court denies a certificate of appealability.




                                     12
Case 1:17-cv-07338-RMB Document 10 Filed 05/09/18 Page 13 of 13 PageID: 223



IV.   CONCLUSION

      For the reasons set forth above, Respondents’ Motion to

Dismiss Petition on Timeliness Grounds is granted; Petitioner’s

Mot. for Stay and Abeyance until Second PCR is Heard and Final is

denied;   Petitioner’s    Motion   for   Equitable   Tolling    is   denied

without prejudice; and a certificate of appealability shall not

issue.



DATE: May 9, 2018

                                         s/Renée Marie Bumb
                                         RENÉE MARIE BUMB
                                         UNITED STATES DISTRICT JUDGE




                                    13
